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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


ANDREA M. UBALDI, on behalf of herself and              Civil Case Number: _____________
all others similarly situated,

                       Plaintiff(s),                             CIVIL ACTION

                                                        CLASS ACTION COMPLAINT
                     -against-                         AND DEMAND FOR JURY TRIAL

NEWPORT BEACH LAW GROUP, APLC, BEN
POURCHO, ESQ; TRINITY FINANCIAL
SERVICES, LLC; and JOHN DOES 1-25,

                       Defendant(s).


       Plaintiff, ANDREA M. UBALDI, on behalf of herself and all others similarly situated

(hereinafter “Plaintiff”) by and through her undersigned attorney, alleges against the above-

named Defendants; NEWPORT BEACH LAW GROUP, APLC ("NEWPORT"); BEN

POURCHO, ESQ. ('POURCHO"); TRINITY FINANCIAL SERVICES, LLC ("TRINITY");

JOHN DOES 1-25, their employees, agents, and successors (collectively “Defendants”) the

following:

                                 PRELIMINARY STATEMENT

       1.      Plaintiff brings this action for damages and declaratory relief arising from the

Defendants' violation of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act

(hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.
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        3.      Venue is proper in this district under 28 U.S.C. §1391(b)(2) because the acts of

the Defendant that give rise to this action, occurred in substantial part, in this district.

                                           DEFINITIONS

        4.      As used in reference to the FDCPA, the terms “creditor,” “consumer,” “debt,” and

“debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.

                                              PARTIES

        5.      The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt collection

practices provides for the initiation of court proceedings to enjoin violations of the FDCPA and

to secure such equitable relief as may be appropriate in each case.

        6.      Plaintiff is a natural person, a resident of Essex County, New Jersey and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

        7.      NEWPORT is a law firm, which list a location at 120 Tustin Avenue, Suite C,

#1125, Newport Beach, CA 92663.

        8.      POURCHO is an attorney admitted to practice law in the State of California and

resides in Newport Beach, CA.

        9.      TRINITY is a limited liability company with office located at 2618 San Miguel

Drive, Suite 303, Newport Beach, CA 92660.

        10.     Upon information and belief, each Defendant uses the mail, telephone, and

facsimile and regularly engages in business the principal purpose of which is to attempt to collect

debts alleged to be due another.

        11.     Each Defendant is a “Debt Collector” as that term is defined by 15 U.S.C. §

1692(a)(6).
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         12.   John Does 1-25, are fictitious names of individuals and business alleged for the

purpose of substituting names of defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                  AGENCY ALLEGATIONS

         13.   Plaintiff is informed and believes and thereon alleges that all times herein

mentioned each Defendant was acting as the agent, servant, employee, partner, co-conspirator,

and/or joint venturer of each remaining Defendant.

                              CLASS ACTION ALLEGATIONS

         14.   Plaintiff brings this action as a state wide class action, pursuant to Rule 23 of the

Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of himself and all New Jersey

consumers and their successors in interest (the “Class”), who were sent debt collection letters

and/or notices from the Defendants which are in violation of the FDCPA, as described in this

Complaint.

         15.   This Action is properly maintained as a class action. The Class is initially defined

as:

               x   All New Jersey consumers who were sent letters and/or notices
                   from NEWPORT concerning a debt owned by TRINITY,
                   which included the alleged conduct and practices described
                   herein.

                                             AND/OR

                     All New Jersey consumers who were sent letters and/or
                     notices from TRINITY after TRINITY knew or should have
                     known that such consumers were represented by an attorney.

                   The class definition may be subsequently modified or refined.

                   The Class period begins one year to the filing of this Action.
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       13.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                x   Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there may be hundreds and/or thousands of

                    persons who were sent debt collection letters and/or notices from the

                    Defendants that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice. (See Exhibit A, and

                    Exhibit B, except that the undersigned attorney has, in accordance with Fed.

                    R. Civ. P. 5.2 redacted the financial account numbers and/or personal

                    identifiers in an effort to protect Plaintiff’s privacy);

                x   There are questions of law and fact which are common to the Class and which

                    predominate over questions affecting any individual Class member. These

                    common questions of law and fact include, without limitation:

                        a.      Whether the Defendants violated various provisions of the FDCPA

                                including but not limited to:

                                15 U.S.C. §§ 1692e; 1692e(3); 1692e(5); and 1692e(10); 1692g et

                                seq.

                        b.      Whether Plaintiff and the Class have been injured by the

                                Defendants’ conduct;

                        c.      Whether Plaintiff and the Class have sustained damages and are

                                entitled to restitution as a result of Defendants’ wrongdoing and if

                                so, what is the proper measure and appropriate statutory formula to

                                be applied in determining such damages and restitution; and
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               d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                       injunctive relief.

        x   Plaintiff’s claims are typical of the Class, which all arise from the same

            operative facts and are based on the same legal theories.

        x   Plaintiff has no interest adverse or antagonistic to the interest of the other

            members of the Class.

        x   Plaintiff will fairly and adequately protect the interest of the Class and has

            retained experienced and competent attorneys to represent the Class.

        x   A Class Action is superior to other methods for the fair and efficient

            adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

            difficulties are likely to be encountered in the management of this class action.

        x   A Class Action will permit large numbers of similarly situated persons to

            prosecute their common claims in a single forum simultaneously and without

            the duplication of effort and expense that numerous individual actions would

            engender. Class treatment will also permit the adjudication of relatively small

            claims by many Class members who could not otherwise afford to seek legal

            redress for the wrongs complained of herein. Absent a Class Action, class

            members will continue to suffer losses of statutory protected rights as well as

            monetary damages. If Defendants’ conduct is allowed to proceed without

            remedy, they will continue to reap and retain the proceeds of their ill-gotten

            gains.
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               x   Defendants have acted on grounds generally applicable to the entire Class,

                   thereby making appropriate final injunctive relief or corresponding

                   declaratory relief with respect to the Class as a whole.

                                   STATEMENT OF FACTS

       14.     Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       15.     On or about December 14, 2006, Plaintiff allegedly incurred a financial obligation

to Lehman Brothers Bank, FSB (“LEHMAN”).

       16.     The LEHMAN obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

       17.     The LEHMAN obligation did not arise out of a transaction that was for business

purposes.

       18.     The LEHMAN obligation was secured with a mortgage on Plaintiff's real

property.

       19.     The LEHMAN obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

       20.     LEHMAN is a "creditor" as defined by 15 U.S.C. § 1692a(4).

       21.     The last payment made by Plaintiff on the LEHMAN obligation was on or about

September 1, 2008.

       22.     Plaintiff defaulted on the LEHMAN obligation he she failed to make the payment

due on October 1, 2008.

       23.     On or about August 28, 2015, TRINITY received the ownership and servicing

rights to the LEHMAN obligation.
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       24.     At the time the LEHMAN obligation was received by and/or sold to TRINITY,

the LEHMAN obligation was in default.

       25.     TRINITY is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

       26.     On or before December 21, 2017, TRINITY referred the LEHMAN obligation to

NEWPORT for the purpose of collections.

       27.     At the time TRINITY referred the LEHMAN obligation to NEWPORT, the

obligation was past due.

       28.     At the time TRINITY referred the LEHMAN obligation to NEWPORT, the

LEHMAN obligation was in default.

       29.     NEWPORT is a "debt collector" as defined by 15 U.S.C. § 1692a(6)

       30.     POURCHO is the Partner and Managing Attorney of NEWPORT.

       31.     POURCHO is not admitted to practice law in the State of New Jersey.

       32.     POURCHO is the sole partner of NEWPORT.

       33.     NEWPORT is not licensed to practice law in New Jersey.

       34.     No attorney employed by NEWPORT was licensed to practice law in New Jersey

as of December 21, 2017.

       35.     Defendants caused to be delivered to Plaintiff a letter dated December 21, 2017,

which was addressed to Plaintiff. Exhibit A, which is fully incorporated herein by reference.

       36.     No attorney employed by NEWPORT, licensed to practice law in New Jersey as

of December 21, 2017, reviewed the Plaintiff’s account or any supporting documentation prior to

the December 21, 2017 letter being sent to Plaintiff.

       37.     The December 21, 2017 letter was sent to Plaintiff in connection with the

collection of the LEHMAN obligation.
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   38.    The December 21, 2017 letter on first page stated in part:


                              Newport Beach
                               Law Group
                         Attorneys and Counselors at Law
            120 Tustin Avenue, Suite C,#1125 Newport Beach, CA 92663
                           Office Number: 866-318-3321
                             Fax Number: 855-631-4155
                      Email: ben@ newportbeachlawgroup.com
                    Website: www.newportbeachlawQroup.com

LAW FIRM SPECIALIZING IN NATIONWIDE REAL ESTATE & FORECLOSURE LAW


                                     December 21, 2017
   Andrea M. Ubaldi
   XXXXXXXXXX
   XXXXXXXXXX


   SENT VIA UPS W/DELIVERY CONFIRMATION

              IMMEDIATE ACTION REQUIRED
                        ...............................................................

   Andrea M. Ubaldi:

   This letter shall serve as formal notice that you are in default under the
   terms of the Note and Mortgage/Deed of Trust creating your loan, and formal
   notice that your lender, Trinity Financial Services, LLC may initiate foreclosure
   proceedings against you immediately under the Mortgage/Deed of Trust if you
   fail to cure your default within the time period stated below. [emphasis added].

   Newport Beach Law Group is legal counsel retained by Trinity Financial
   Services, LLC the owner and holder of the Mortgage/Deed of Trust and Note
   on the above-referenced property. Trinity Financial Services, LLC is also the
   servicer of said Mortgage/Deed of Trust and Note. The originator of the subject
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   loan was LEHMAN BROTHERS BANK, FSB, A FEDERAL SAVINGS BANK;
   our client, Trinity Financial Services, LLC now owns the loan. Newport Beach
   Law Group is a law firm acting in the capacity of a debt collector.


   39.    The December 21, 2017 letter on second page stated in part:

   Your loan is in default because you failed to make the payment due on October
   01, 2008, and all subsequent payments thereafter. The amount required to cure
   the default and reinstate your loan is $10149448.(Attached hereto as Exhibit
   "A"). Additionally, your total balance due is $193,543.50. (Attached hereto
   as Exhibit ''B"). At a minimum, you must pay your reinstatement amount
   on or before January 11.2018, in certified funds made payable to Trinity
   Financial Services, LLC. But as Stated above, we are authorized to extend
   you a 10% discount of your total balance if paid on or before January
   11,2018. If this significant 10% discount is not received by close of business
   day on January 11, 2018 the foregoing offer is null and void and the total
   balance due of $193,543,50 will be reinstated and continue to increase.


   40.    The December 21, 2017 letter on second page further stated:

   Failure to respond with 21 days from the date of this letter (January 11,
   2018) will leave this office no other option than to advise Trinity Financial
   Services, LLC to commence the foreclosure process against your property.... But
   the attorneys at Newport Beach Law Group can't help you if we don't hear form
   you.

   Failure to cure the default on or before the date specified in this notice may result
   in acceleration of the sums secured by this security instrument, foreclosure by
   judicial proceeding and sale of the property. Immediate payment in full may be
   required without further notice or demand.

   Lender shall be entitled to collect all expenses incurred in pursuing the remedies
   provided in Paragraphs 7, 13, 17, 18 and 19 of the Mortgage/Deed of Trust
   including, but not limited to, reasonable attorneys' fees, court costs, costs of
   documenting evidence, abstracts, title reports, and any other related costs in
   connection with the borrower's default.


   41.    The December 21, 2017 letter is signed by Defendant:

                                 Ben Pourcho, Esq.
                                 Partner and Managing Attorney
                                 Newport Beach Law Group, APLC
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          42.   The following statements are located at the bottom of the December 21, 201

letter:

                This law firm may be deemed a "debt collector" under the
                Fair Debt Collection Practices Act. Any information obtained
                will be used for the purposes of collecting that debt.

           THIS IS A COMMUNICATION FROM A DEBT COLLECTOR

 UNLESS YOU NOTIFY THIS OFFICE WITHIN THIRTY DAYS AFTER RECEIVING
 THIS NOTICE THAT YOU DISPUTE THE VALIDITY OF THIS DEBT OR ANY
 PORTION THEREOF, THIS OFFICE WILL ASSUME THIS DEBT IS VALID. IF YOU
 NOTIFY THIS OFFICE IN WRITING WITHIN THIRTY DAYS FROM RECEIVING
 THIS NOTICE, THIS OFFICE WILL OBTAIN VERIFICATION OF THE DEBT AND
 MAIL YOU A COPY OF SUCH VERIFICATION. IF YOU REQUEST THIS OFFICE IN
 WRITING WITHIN THIRTY DAYS AFTER RECEIVING THIS NOTICE, THIS OFFICE
 WILL PROVIDE YOU WITH THE NAME AND ADDRESS OF THE ORIGINAL
 CREDITOR.


          43.   Attached to the December 21, 2017 letter are Exhibit A and Exhibit B.

          44.   Exhibit A, attached to the December 21, 2017 letter is a print out of the Plaintiff's

account.

          45.   Exhibit B, attached to the December 21, 2017 letter is a payoff statement.

          46.   On receipt of the December 21, 2017, Plaintiff read the letter.

          47.   The overall impression that Defendants' collection letters, the same or substantially

similar to the December 21, 2017 letter, gives to Plaintiff and other similarly situated is that of

potential legal action.

          48.   Defendants' collection letters, the same or substantially similar to Defendants'

December 21, 2017 letter, falsely imply that an attorney, acting as an attorney, is meaningfully

involved in collecting the consumer debts at issue. A copy of said disputed is annexed hereto as

Exhibit B.
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       49.     On January 7, 2018, Plaintiff through her undersigned attorney disputed the debt,

via facsimile to (855) 631-4155 and First Class Mail.

       50.     On January 12, 2018, TRINITY mailed to Plaintiff a letter and certain documents.

A copy of said letter is annexed hereto as Exhibit C.

       51.     The January 12, 2018 letter from TRINITY to Plaintiff stated in part:

               As requested in your fax correspondence to Newport Beach Law
               Group, APLC on January 7, 2018, please find the enclosed
               documents:

       52.     The January 12, 2018 letter from TRINITY to Plaintiff further stated:

               If you want is to help you rectify this situation, please call me directly at
               (855) 818-6806 to discuss available options.
                                              ....................

               THIS COMMUNICATION IS FROM A DEBT COLLECTOR. ANY
               INFORMATION OBTAINED WILL BE USED FOR THAT
               PURPOSE.

       53.     At the time TRINITY sent the January 12, 2018, it knew that Plaintiff was

represented by an attorney.

       54.     At the time TRINITY sent the January 12, 2018, it should have known that

Plaintiff was represented by an attorney.

       55.     The FDCPA prohibits a debt collector from falsely representing or implying that

any individual is an attorney or that any communication is from an attorney if, in fact, no

attorney was meaningfully involved in collecting the debt. See Martsolf v. JBC Legal Group,

P.C., 2008 U.S. Dist. LEXIS 6876, 2008 WL 275719 (M.D. Pa. Jan. 30, 2008); Lesher v. Law

Offices of Mitchell N. Kay, PC, 650 F.3d 993 (3rd Cir. 2011); and 15 U.S.C. § 1692e(3).

       56.     Defendants' December 21, 2017 letter that was sent to Plaintiff and others similarly

situated does not comply with the FDCPA. See Smith v. Michael Harrison, Esquire, 2008 U.S.
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Dist. LEXIS 51685 (D.N.J. July 7, 2008); Lesher v. Law Offices of Mitchell N. Kay, PC, 650

F.3d 993 (3rd Cir. 2011).

        57.      The December 21, 2017 letter is a “communication” as defined by 15 U.S.C. §

1692a(2).

                            POLICIES AND PRACTICES COMPLAINED OF

        58.      It is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A, and Exhibit C, which violate the FDCPA, by inter alia:

                 (a)     Using false, deceptive or misleading representations or means in
                         connection with the collection of a debt;

                 (b)     Threatening to take any action that cannot legally be taken or that is not
                         intended to be taken;

                 (c)     Using unfair or unconscionable means to collect or attempt to collect any
                         debt;

                 (d)     Making a false representation of the character or amount of the debt;

                 (e)     Failing to effectively provide notice pursuant to 15 U.S.C §169g(a) et seq.,


        59.      On information and belief, Defendants sent written communications in the form

annexed hereto as Exhibit A, to at least 40 natural persons in the State of New Jersey with one

year of this Complaint.


                                                 COUNT I

                       FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                   1692 et seq. VIOLATIONS

        60.      Plaintiff, on behalf of himself and others similarly situated, repeats and realleges

all prior allegations as if set forth at length herein.
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       61.     Collection letters and/or notices, such as those sent by Defendants, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

       62.     The form, layout and content of Defendants' letter would cause the least

sophisticated consumer to be confused about his or her rights.

       63.     Section 1692g of the FDCPA states the following in relevant part:

               (a) Notice of debt; contents

               Within five days after the initial communication with a consumer in
               connection with the collection of any debt, a debt collector shall, unless
               the following information is contained in the initial communication or
               the consumer has paid the debt, send the consumer a written notice
               containing--

               ***
               (3) a statement that unless the consumer, within thirty days after receipt
               of the notice, disputes the validity of the debt, or any portion thereof, the
               debt will be assumed to be valid by the debt collector;

               (4) a statement that if the consumer notifies the debt collector in writing
               within the thirty-day period that the debt, or any portion thereof, is
               disputed, the debt collector will obtain verification of the debt or a copy
               of a judgment against the consumer and a copy of such verification or
               judgment will be mailed to the consumer by the debt collector; and

               (5) a statement that, upon the consumer's written request within the
               thirty-day period, the debt collector will provide the consumer with the
               name and address of the original creditor, if different from the current
               creditor.

               (b) Disputed debts

               If the consumer notifies the debt collector in writing within the thirty-day
               period described in subsection (a) of this section that the debt, or any
               portion thereof, is disputed, or that the consumer requests the name and
               address of the original creditor, the debt collector shall cease collection
               of the debt, or any disputed portion thereof, until the debt collector
               obtains verification of the debt or a copy of a judgment, or the name and
               address of the original creditor, and a copy of such verification or
               judgment, or name and address of the original creditor, is mailed to the
               consumer by the debt collector. Collection activities and communications
               that do not otherwise violate this subchapter may continue during the 30-
               day period referred to in subsection (a) of this section unless the
               consumer has notified the debt collector in writing that the debt, or any
               portion of the debt, is disputed or that the consumer requests the name
               and address of the original creditor. Any collection activities and
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                communication during the 30-day period may not overshadow or be
                inconsistent with the disclosure of the consumer's right to dispute the
                debt or request the name and address of the original creditor.
                [emphasis added].


        64.     Certain language in the December 21, 2017 letter, overshadows and is

inconsistence with the required notices pursuant to 15 U.S.C. §1692g(a) et seq.

        65.     Such language includes but is not limited to:

                           IMMEDIATE ACTION REQUIRED

which is on the first page and is the largest font in the entire letter.

        66.     Such language further includes but is not limited to:

                This letter shall serve as formal notice that you are in
                default under the terms of the Note and Mortgage/Deed of
                Trust creating your loan, and formal notice that your lender,
                Trinity Financial Services, LLC may initiate foreclosure
                proceedings against you immediately under the Mortgage/Deed
                of Trust if you fail to cure your default within the time period
                stated below. [emphasis added].


                Failure to respond with 21 days from the date of this letter
                (January 11, 2018) will leave this office no other option than to
                advise Trinity Financial Services, LLC to commence the
                foreclosure process against your property.... But the attorneys at
                Newport Beach Law Group can't help you if we don't hear form
                you.

                Failure to cure the default on or before the date specified in this
                notice may result in acceleration of the sums secured by this
                security instrument, foreclosure by judicial proceeding and sale of
                the property. Immediate payment in full may be required without
                further notice or demand.

        67.     Defendants violated Section 1692g(a)(3) because the language set forth above in

paragraphs 66 and 67, would cause the least sophisticated consumer to be unsure and confused as

to how much time she has to dispute the debt.
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       68.     Defendants violated Section 1692g(a) et seq., because the language set forth

above in paragraphs 66 and 67, would cause the least sophisticated consumer to believe that legal

action will commence within the thirty day (30) day validation period, overshadows the

validation notices.

       69.     Defendants violated Section 1692g(a)(3) because the language set forth above in

paragraphs 66 and 67, would cause the least sophisticated consumer to believe that she must

dispute the debt within 21 days from the date of the December 21, 2017 letter.

       70.     Defendants violated Section 1692g(a)(3) because the language set forth above in

paragraphs 66 and 67, would cause the least sophisticated consumer to be unsure and confused as

to whether she has to dispute the debt within 21 days from the date of the December 21, 2017

letter or within 30 days after receipt of the December 21, 2017 letter.

       71.     Defendant violated 15 U.S.C. § 1692e of the FDCPA by using any false,

deceptive or misleading representation or means in connection with its attempts to collect debts

from Plaintiff and others similarly situated.

       72.     Defendant violated 15 U.S.C. § 1692e of the FDCPA in connection with its

communications to Plaintiff and others similarly situated.

       73.     Section 1692e(3) of the FDCPA prohibits a debt collector from falsely

representing or implying that any communication is from an attorney.

       74.     Defendant violated 15 U.S.C. § 1692 et seq., § 1692e and § 1692e(3) of the

FDCPA by causing Plaintiff and others similarly situated to be confused as to whether Defendant

was acting as an attorney in their collection attempts and whether Defendant’s collection letters

implied potential legal action.
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        75.     Defendant violated 15 U.S.C. § 1692e and § 1692e(3) of the FDCPA by making a

false, deceptive, or misleading representation in its collection letters to Plaintiff and others

similarly situated regarding their level of meaningful attorney involvement.

        76.     Section 1692e(5) of the FDCPA prohibits a debt collector from threatening to take

any action that cannot legally be taken.

        77.     Defendants' December 21, 2017 letter violated 15 U.S.C. §1692e(5) by falsely

implying that a lawsuit could be instituted by NEWPORT.

        78.     Defendants' December 21, 2017 letter violated 15 U.S.C. §1692e(5) by falsely

implying that the NEWPORT has been retained to file a lawsuit against Plaintiff.

        79.     Section 1692e(10) prohibits the use of any false representation or deceptive

means to collect or attempt to collect any debt.

        80.     Defendant violated 15 U.S.C. §1692e(10) by falsely representing that an attorney

was meaningfully involved in the collection process and by falsely implying that NEWPORT

was retained to file a lawsuit against Plaintiff.

        81.     Defendant further violated 15 U.S.C. §1692e(10) because the December 21, 2017

letter fails to properly inform the least sophisticated consumer that to effectively dispute the

alleged debt.

        82.     The least sophisticated consumer upon reading the instructions in the December

21, 2017 letter would be misled into believing that if he or she wished to effectively dispute the

alleged debt or any portion thereof, he or she must (1) respond to NEWPORT with 21 days from

the date of the December 21, 2017 letter; or (2) notify NEWPORT within 30 days of receipt of

the December 21, 2017 letter.
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       83.     Defendant further violated 15 U.S.C. §1692e(10) because the December 21, 2017

letter implies that TRINITY shall be entitled to certain to collect certain expenses, should

Plaintiff fail to cure the default within 21 days of receipt of the December 21, 2017 letter, when

such expense must be applied for and award by a court of competent jurisdiction.

       84.      15 U.S.C. §1692c(a)(2) provides:

               Without the prior consent of the consumer given directly to the debt
               collector or the express permission of a court of competent jurisdiction, a
               debt collector may not communicate with a consumer in connection with
               the collection of any debt --

               (2) if the debt collector knows the consumer is represented by an attorney
               with respect to such debt and has knowledge of, or can readily ascertain,
               such attorney's name and address, unless the attorney fails to respond
               within a reasonable period of time to a communication from the debt
               collector or unless the attorney consents to direct communication with
               the consumer..

       85.     TRINITY violated 15 U.S.C. §1692c(a)(2) by sending a letter dated January 12,

2018, directly to Plaintiff, when it knew or should have known that Plaintiff was represented by

an attorney.

       86.     Congress enacted the FDCPA in part to eliminate abusive debt collection

practices by debt collectors.

       87.     Plaintiff and others similarly situated have a right to free from abusive debt

collection practices by debt collectors.

       88.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       89.     Plaintiff and others similarly situated were sent letters, which have the propensity

to affect their decision-making with regard to the debt.

       90.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.
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       91.    Plaintiff has suffered damages and other harm as a direct result of the Defendants’

actions, conduct, omissions and violations of the FDCPA described herein.

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

              (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the attorneys, Joseph K. Jones, Esq., as Class

Counsel;

              (b)     Awarding Plaintiff and the Class statutory damages;

              (c)     Awarding Plaintiff and the Class actual damages;

              (d)     Awarding pre-judgment interest;

              (e)     Awarding post-judgment interest.

              (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.


Dated: February 18, 2018


                                            s/ Joseph K. Jones
                                            Joseph K. Jones, Esq. (JJ5509)
                                            JONES, WOLF & KAPASI, LLC
                                            375 Passaic Avenue, Suite 100
                                            Fairfield, New Jersey 07004
                                            (973) 227-5900 telephone
                                            (973) 244-0019 facsimile
                                            jkj@legaljones.com
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                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.




                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Joseph K. Jones, the undersigned attorney of record for Plaintiff, do hereby certify to

my own knowledge and based upon information available to me at my office, the matter in

controversy is not the subject of any other action now pending in any court or in any arbitration

or administrative proceeding.

Dated: February 18, 2018

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
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                   Exhibit

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New York
                                                                                                    Joseph K. Jones, Esq.††
One Grand Central Place
                                                                                                   Benjamin J. Wolf, Esq.††
60 East 42nd St., 46th Floor
                                                                                                    Anand A. Kapasi, Esq.†
New York, NY 10165
p. (646) 459-7971
f. (646) 459-7973
                                                                                                   ††Admitted NY, NJ, CT
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New Jersey                                                                                    
375 Passaic Ave., Ste. 100
Fairfield, NJ 07004
p. (973) 227-5900                                                                                     www.legaljones.com
f. (973) 244-0019

    Reply to: New York
                                                 January 7, 2018
                                    Via Facsimile (855) 631-4155 and First Class Mail

           Newport Beach Law Group, APLC
           Attn: Ben Pourcho, Esq.
           120 Tustin Avenue, Suite C, #1125
           Newport Beach, CA 92663

                                           Re:     Andrea M. Ubaldi
                                                   Loan No.:

           Dear Mr. Pourcho:

                  This firm has been retained to represent the interests of Andrea M. Ubaldi, relative to the
           above-referenced matter.

                   Pursuant to 15 U.S.C. §1692c(c), you are hereby instructed to immediately Cease and
           Desist all collection efforts and communications with Ms. Ubaldi. Furthermore, Ms. Ubaldi
           hereby revokes any and all prior authorization or permission, whether given in writing, orally or
           otherwise, that may have been granted to contact her on her mobile telephone, whether by
           calling, texting or emailing or to any facsimile device.

                   As provided for under 15 U.S.C. §1692g(b), my client disputes the validity of the alleged
           debt and demands a verification, a full accounting, and the name and address of the original
           creditor. Kindly forward all such information to our New York office. Additionally, pursuant to
           15 U.S.C. §1692e(8), if Newport Beach Law Group, APLC, is reporting credit information
           concerning this alleged debt, then it is obligated to report it as disputed.

                     Your anticipated cooperation in this matter is appreciated.

                                                   Jones, Wolf & Kapasi, LLC

                                                   /s/ Joseph K. Jones
                                                   Joseph K. Jones
                                                   Attorney at Law
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